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                                                                                  9:34 am, Mar 04, 2021



                                      INFORMATION SHEET

                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK


1.       Title of Case: United States v. Raymond Kohut

2.       Related Magistrate Docket Number(s):        20-M-692

3.       Arrest Date:   8/29/2020                    1:21-cr-00115(SJ)(VMS)
4.       Nature of offense(s):   ☒ Felony
                                 ☐ Misdemeanor

5.       Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local E.D.N.Y.
         Division of Business Rules):                  See sealed, ex-parte letter attached hereto.

6.       Projected Length of Trial:    Less than 6 weeks        ☒
                                       More than 6 weeks        ☐

7.       County in which crime was allegedly committed:                            Kings County
         (Pursuant to Rule 50.1(d) of the Local E.D.N.Y. Division of Business Rules)

8.       Was any aspect of the investigation, inquiry and prosecution giving rise to the case
         pending or initiated before March 10, 2012. 1       ☐ Yes ☒ No

9.       Has this indictment/information been ordered sealed?        ☐ Yes ☒ No

10.      Have arrest warrants been ordered?                          ☐ Yes ☒ No

11.      Is there a capital count included in the indictment? ☐ Yes ☒ No

                                                       SETH D. DUCHARME
                                                       Acting United States Attorney

                                               By:     /s/ Mark E. Bini
                                                       Mark E. Bini
                                                       Andrey Spektor
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         Judge Brodie will not accept cases that were initiated before March 10, 2012.



Rev. 10/04/12
